Case 1:18-cr-00303-TFH Document 13 Filed 10/15/18 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED S'I`ATES OF AMERICA

Case No. 18-cr-303 (TFH)
JACKSON ALEXANDER COSKO,

Defendant.

 

 

ORDER

Having considered the government’s Consentv Motion to EXclude Tirne Under the Speedy
Trial Act [ECF No. 10], and for the reasons stated by the Court during the October 15, 2018

status conference, it is hereby

ORDERED that the time from today, October 15, 2018, through November 16, 2018, is
excluded from the speedy trial clock pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and (h)( 1)(D).

SO ORDERED.

October/S’, 2018 wei %jV/;@!LU`/

Thomas F. Hogan{

SENlOR UNITED STATES DISTRICT JUDGE

